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                                            M INUTE O RD ER                                                   Page11
                                    M agistrate Judge John O 'Sullivan
                      AtkinsBuildingCourthouse -5th Floor                      Date:3.21.18          Tim e:1:30 p.m .
Defendant: ARTHUR LEE KENNEDY 11I             1#: 15366-104      Case #: 18-2405-M J-O 'SULLIVAN

AUSA:             -                                    Attorney: D h                          --
violation: POSSOFAFIREARM AFFECTIN TERSTATE/FOREIGN            Surr/ArrestDate:       YOB:
            COM M ERCE BY A FELON
Proceeding: ReportRE:Coun el                                       CJA Appt:
Bond/PTD Held:C Yes              o         Recommended Bond:
Bond Setat:                                                        Co-signed by:

       Surrenderand/ordo notobtainpassports/traveldocs                     Language: English
       R                                          ,        k/monthby        Disposition:6 .4i 'foe zx*V
        eporttoPTSas irecte or                   xsawee                                   blw : v c-             N '.
       phone:            x'saweek/monthinperson                              PRELIM/ARRAIGN 4/a @ ICAM
           ndomurinetestingbyPretri
       Services
                                  al                                                      S%.
       Treatmentasdeemednecessary                                               C f/           0          :
 RC    Refrainfrom excessiveuseofalcohol                                                       *
 Rr    Participateinmentalhealthassessment&treatment
 NC    Maintainorseekfull-timeemployment/education                                                    .
 Rr    Nocontactwithvictims/witnesses,exceptthroughcounsel
       No firearm s
 RC Nottoencumberproperty
 Nr Maynotvisittransportationestablishments
       HomeConfinement/ElectronicMonitoringand/or
       Curfew               pm to            am ,paid by
       Allowances;M edicalneeds,courtappearances,attorneyvisits,
       religious,em ploym ent
       Travelextendedto; J'             L                                    Timefromtodayto                  excluded
       Other:                .         *                                     from Speedy TrialClock
NEXTCOURTAPPEARANCE         Date:            Tim e:           Judge:                        Plate:
ReportRE Counsel:
PTD/BondHearing:
Pelim/Arraig orRemoval:                                                .                              5
Sta          erence RE:
D.A.R. jw(:ltj ;&#$                                                    TimeinCourt:
                                      s/lohnJ.O'Sullivan                                  M gistrateJudge
